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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


MICHAEL GOLDEMBERG, ANNIE LE, and             Case No. 7:13-cv-03073-NSR-LMS
HOWARD PETLACK, on behalf of themselves and
all others similarly situated,                SECOND AMENDED CLASS
                                              ACTION COMPLAINT

                               Plaintiffs,    DEMAND FOR JURY TRIAL

                   v.                         ECF CASE

JOHNSON & JOHNSON CONSUMER
COMPANIES, INC.,

                               Defendant.
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         Plaintiffs Michael Goldemberg, Annie Le, and Howard Petlack (collectively,

“Plaintiffs”), on behalf of themselves and all others similarly situated, by and through their

undersigned counsel, allege the following based upon their own personal knowledge and the

investigation of their counsel.

                                  NATURE OF THE ACTION

         1.     This is a proposed class action against Johnson & Johnson Consumer Companies,

Inc. (“Defendant”) for misleading consumers about the nature of the ingredients of its personal

care products sold under the “Aveeno” brand name and labeled as “Active Naturals,” when, in

fact, they contain unnatural, synthetic ingredients. Namely, the products at issue (collectively,

“Aveeno,” “Product,” or “Products”) are the following1:

(1)    Aveeno Active Naturals Daily Moisturizing Lotion, 18 fl oz;
(2)    Aveeno Active Naturals Daily Moisturizing Lotion, 12 fl oz;
(3)    Aveeno Active Naturals Daily Moisturizing Lotion, 8 oz;
(4)    Aveeno Active Naturals Daily Moisturizing Body Wash, 12 fl oz;
(5)    Aveeno Active Naturals Daily Moisturizing Body Wash, 18 fl oz;
(6)    Aveeno Active Naturals Daily Moisturizing Lotion with Broad Spectrum SPF 15, 12 fl oz;
(7)    Aveeno Active Naturals Skin Relief 24hr Moisturizing Lotion, 12 fl oz;
(8)    Aveeno Active Naturals Skin Relief 24hr Moisturizing Lotion, 18 fl oz;
(9)    Aveeno Active Naturals Skin Relief 24hr Moisturizing Lotion, 8 oz;
(10)   Aveeno Active Naturals Skin Relief Healing Ointment, 3 oz;
(11)   Aveeno Active Naturals Skin Relief Overnight Cream, 7.3 oz;
(12)   Aveeno Active Naturals Skin Relief Hand Cream, 3.5 oz;
(13)   Aveeno Active Naturals Skin Relief Moisture Repair Cream, 11 oz;
(14)   Aveeno Active Naturals Skin Relief Body Wash, 18 fl oz;
(15)   Aveeno Active Naturals Skin Relief Body Wash, 12 fl oz;
(16)   Aveeno Active Naturals Skin Relief Shower & Bath Oil, 10 fl oz;
(17)   Aveeno Active Naturals Eczema Therapy Moisturizing Cream, 5 oz;
(18)   Aveeno Active Naturals Eczema Therapy Moisturizing Cream, 7.3 oz;
(19)   Aveeno Active Naturals Eczema Therapy Moisturizing Cream, 12 fl oz;
(20)   Aveeno Active Naturals Positively Nourishing Calming Body Lotion, 7 oz;
(21)   Aveeno Active Naturals Positively Nourishing Comforting Whipped Souffle, 6 oz;

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  Defendant may discontinue offering some products and regularly introduces new products that
are also falsely and misleadingly labeled “Active Naturals.” Defendant may also market and sell
additional substantially similar products of which Plaintiffs are unaware. Plaintiffs will ascertain
the identity of any such additional products as discovery progresses, and they reserve the right to
amend the list of products at issue as necessary.

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(22) Aveeno Active Naturals Positively Nourishing Energizing Body Lotion, 7 oz;
(23) Aveeno Active Naturals Positively Nourishing Hydrating Body Wash, 16 fl oz;
(24) Aveeno Active Naturals Positively Nourishing Antioxidant Infused Body Wash with White
     Peach and Ginger, 16 fl oz;
(25) Aveeno Active Naturals Positively Nourishing Smoothing Body Wash, 16 fl oz;
(26) Aveeno Active Naturals Positively Nourishing Calming Body Wash, 16 fl oz;
(27) Aveeno Active Naturals Positively Ageless Firming Body Lotion, 8 oz;
(28) Aveeno Active Naturals Positively Ageless Skin Strengthening Hand Cream, 2.7 oz;
(29) Aveeno Active Naturals Stress Relief Moisturizing Lotion, 18 fl oz;
(30) Aveeno Active Naturals Stress Relief Moisturizing Lotion, 12 fl oz;
(31) Aveeno Active Naturals Stress Relief Body Wash, 12 fl oz;
(32) Aveeno Active Naturals Stress Relief Foaming Bath, 10 fl oz;
(33) Aveeno Active Naturals Creamy Moisturizing Oil, 12 fl oz;
(34) Aveeno Active Naturals Therapeutic Shave Gel, 7 oz;
(35) Aveeno Active Naturals Positively Smooth Shave Gel, 7 oz;
(36) Aveeno Active Naturals 1% Hydrocortisone Anti-Itch Cream, 1 oz;
(37) Aveeon Active Naturals Anti-Itch Concentrated Lotion, 4 fl oz;
(38) Aveeno Active Naturals Calamine & Pramoxine HCI Anti-Itch Cream, 1 oz;
(39) Aveeno Active Naturals Moisturizing Bar, 3.5 oz;
(40) Aveeno Active Naturals Protect + Hydrate Lotion Sunscreen with Broad Spectrum SPF 30,
     3 oz;
(41) Aveeno Active Naturals Protect + Hydrate Lotion Sunscreen with Broad Spectrum SPF 70,
     3 oz;
(42) Aveeno Active Naturals Hydrosport Wet Skin Spray Sunscreen with Broad Spectrum SPF
     30, 5 oz;
(43) Aveeno Active Naturals Positively Radiant Targeted Tone Corrector, 1.1 fl oz;
(44) Aveeno Active Naturals Positively Radiant Makeup Removing Wipes, 25 count;
(45) Aveeno Active Naturals Positively Radiant Daily Moisturizer Broad Spectrum SPF 15, 4 fl
     oz;
(46) Aveeno Active Naturals Positively Radiant Daily Moisturizer Broad Spectrum SPF 30, 2.5
     fl oz;
(47) Aveeno Active Naturals Positively Radiant Tinted Moisturizer Broad Spectrum SPF 30, 2.5
     fl oz, fair to light;
(48) Aveeno Active Naturals Positively Radiant Tinted Moisturizer Broad Spectrum SPF 30, 2.5
     fl oz, medium;
(49) Aveeno Active Naturals Positively Radiant Intensive Night Cream, 1.7 oz;
(50) Aveeno Active Naturals Positively Radiant Skin Brightening Daily Scrub, 5 oz;
(51) Aveeno Active Naturals Positively Radiant Brightening Cleanser, 6.7 fl oz;
(52) Aveeno Active Naturals Positively Radiant Daily Cleansing Pads, 28 count;
(53) Aveeno Active Naturals Ultra-Calming Daily Moisturizer Broad Spectrum SPF 15, 4 fl oz;
(54) Aveeno Active Naturals Ultra-Calming Foaming Cleanser, 6 fl oz;
(55) Aveeno Active Naturals Ultra-Calming Makeup Removing Wipes, 25 count;
(56) Aveeno Active Naturals Clear Complexion BB Cream Broad Spectrum SPF 30, 2.5 fl oz,
     medium;
(57) Aveeno Active Naturals Clear Complexion BB Cream Broad Spectrum SPF 30, 2.5 fl oz,
     fair to light;

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(58)   Aveeno Active Naturals Clear Complexion Daily Moisturizer, 4 fl oz;
(59)   Aveeno Active Naturals Clear Complexion Foaming Cleanser, 6 fl oz;
(60)   Aveeno Active Naturals Clear Complexion Daily Cleansing Pads, 28 count;
(61)   Aveeno Active Naturals Clear Complexion Cream Cleanser, 5 oz;
(62)   Aveeno Active Naturals Clear Complexion Cleansing Bar, 3.5 oz;
(63)   Aveeno Active Naturals Positively Ageless Youth Perfecting Moisturizer Broad Spectrum
       SPF 30, 2.5 fl oz;
(64)   Aveeno Active Naturals Positively Ageless Reconditioning Night Cream, 1.7 fl oz;
(65)   Aveeno Active Naturals Positively Ageless Restructuring Treatment Cream, 1.7 fl oz;
(66)   Aveeno Active Naturals Positively Ageless Lifting & Firming Eye Cream, 0.5 oz;
(67)   Aveeno Active Naturals Positively Ageless Complete Anti-Aging System;
(68)   Aveeno Active Naturals Positively Ageless Resurfacing Scrub, 5 oz;
(69)   Aveeno Active Naturals Positively Ageless Daily Exfoliating Cleanser, 5 fl oz;
(70)   Aveeno Active Naturals Smart Essentials Daily Nourishing Moisturizer Broad Spectrum
       SPF 30, 2.5 fl oz;
(71)   Aveeno Active Naturals Smart Essentials Nighttime Moisture Infusion, 1.7 oz;
(72)   Aveeno Active Naturals Smart Essentials Daily Detoxifying Scrub, 5 oz;
(73)   Aveeno Active Naturals Protect + Hydrate Lotion Sunscreen with Broad Spectrum SPF 50
       for Face, 3 oz;
(74)   Aveeno Active Naturals Nourish+ Moisturize Shampoo, 10.5 fl oz;
(75)   Aveeno Active Naturals Nourish+ Moisturize Conditioner, 10.5 fl oz;
(76)   Aveeno Active Naturals Nourish+ Condition Leave-In Treatment, 5.2 fl oz;
(77)   Aveeno Active Naturals Pure Renewal Shampoo, 10.5 fl oz;
(78)   Aveeno Active Naturals Pure Renewal Conditioner, 10.5 fl oz;
(79)   Aveeno Active Naturals Pure Renewal Dry Shampoo, 4.8 oz;
(80)   Aveeno Active Naturals Nourish+ Dandruff Control Shampoo, 10.5 fl oz;
(81)   Aveeno Active Naturals Nourish+ Dandruff Control Conditioner, 10.5 fl oz;
(82)   Aveeno Active Naturals Nourish+ Shine Shampoo, 10.5 fl oz;
(83)   Aveeno Active Naturals Nourish+ Shine Conditioner, 10.5 fl oz;
(84)   Aveeno Active Naturals Nourish+ Strengthen Shampoo, 10.5 fl oz;
(85)   Aveeno Active Naturals Nourish+ Strengthen Conditioner, 10.5 fl oz;
(86)   Aveeno Active Naturals Nourish+ Volumize Shampoo, 10.5 fl oz;
(87)   Aveeno Active Naturals Nourish+ Volumize Conditioner, 10.5 fl oz;
(88)   Aveeno Active Naturals Men’s Face Wash, 5.1 oz;
(89)   Aveeno Active Naturals Men’s Shave Gel, 7 oz; and
(90)   Aveeno Active Naturals Men’s After Shave Lotion, 3.4 fl oz.

         2.    Defendant engaged and continues to engage in a widespread, uniform marketing

campaign using the Product packaging, the website http://www.aveeno.com, and advertisements

to mislead consumers about the nature of the ingredients in Aveeno. Specifically, Defendant

prominently places the label “Active Naturals” on the Products’ packaging, even though

Defendant knows that statement is false and misleading.

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       3.      Defendant also uses the representation “Active Naturals” on the Product website

in connection with the Aveeno Products.

       4.      Unfortunately for consumers and their children, the Aveeno Products are not

natural. Rather, the Products contain harmful, unnatural, synthetic ingredients.

       5.      For example, Aveeno Active Naturals Therapeutic Shave Gel, 7 oz, contains

synthetic, unnatural ingredients, and other hazardous ingredients including but not limited to the

following:

               a.     Glycerin – Glycerin is a synthetic substance. 7 C.F.R. §
                      205.605(b). It is produced through various extensive means using
                      synthetic and/or hazardous substances, including epichlorohydrin
                      (hazardous), sodium hydroxide (synthetic and hazardous), allyl
                      alcohol (synthetic and hazardous), hydrogen peroxide (synthetic),
                      and peracetic acid (synthetic).

               b.     Benzaldehyde – Pursuant to federal regulation, benzaldehyde is
                      synthetic.   21 C.F.R. § 182.60 (listing synthetic flavoring
                      substances and adjuvants).

               c.     Triethanolamine – Triethanolamine is an amine produced by
                      reacting ethylene oxide (considered highly toxic) with ammonia
                      (another known toxin).         Truth in Aging, Triethanolamine,
                      http://www.truthinaging.com/ingredients/triethanolamine         (last
                      visitedAugust 21, 2014). Triethanolamine is produced by reacting
                      3 moles of ethylene oxide with 1 mole of ammonia; additional
                      ethylene oxide will continue to react to produce higher ethylene
                      oxide adducts of triethanolamine. Typically, ethylene oxide is
                      reacted with ammonia in a batch process to produce a crude
                      mixture that is later separated by distillation. Triethanolamine is a
                      fragrance ingredient, pH adjuster, surfactant and emulsifying
                      agent. The Cosmetic Ingredient Review has placed restrictions on
                      this ingredient regarding the concentration amounts. There is
                      strong evidence showing this ingredient to be an immune and
                      respiratory toxicant, meaning there are health problems ranging
                      from allergic reactions to an incapacity to fight disease and repair
                      damaged tissue in the body. The Green Beaver Company, a
                      company that creates personal care products, lists triethanolamine
                      as an ingredient to avoid. Green Beaver, Ingredients to Avoid,
                      http://www.greenbeaver.com/ingredients/ (last visited August 21,
                      2014).


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               d.     Phenoxyethanol – The Food and Drug Administration (“FDA”)
                      has warned that phenoxyethanol is dangerous. Phenoxyethanol is
                      an aromatic ether alcohol. This ingredient starts out as phenol, a
                      toxic white crystalline powder that is created from benzene (a
                      known carcinogen) and then is treated with ethylene oxide (also a
                      known carcinogen) and an alkalai.          Japan has restricted
                      phenoxyethanol as an ingredient in all cosmetics. Most countries
                      ban its use to only 1-percent concentration. The Green Beaver
                      Company lists phenoxyethanol as an ingredient to avoid.
                      Ingredients to Avoid, http://www.greenbeaver.com/ingredients/.

               e.     Methylparaben, propylparaben, ethylparaben – Parabens are
                      esters of p-hydroxybenzoic acid (PHBA). Parabens are prepared
                      by esterifying PHBA with the corresponding alcohol (i.e., methyl
                      alcohol, propyl alcohol, or ethyl alcohol) in the presence of an acid
                      catalyst, such as sulfuric acid, and an excess of the specific
                      alcohol. The acid is then neutralized with caustic soda, and the
                      product is crystallized by cooling, centrifuged, washed, dried under
                      vacuum, milled, and blended. The Green Beaver Company lists
                      parabens as ingredients to avoid. Green Beaver, Ingredients to
                      Avoid, http://www.greenbeaver.com/ingredients/.

       6.      Aveeno Active Naturals Creamy Moisturizing Oil, 12 fl oz, similarly contains

many synthetic, unnatural ingredients, including but not limited to the following:

               a.     PEG-100 Stearate – Peg-100 Stearate is a synthetic polymer
                      composed of PEG (polyethylene glycol) and stearic acid.

               b.     Methylparaben, propylparaben, ethylparaben – See ¶ 5(e), supra.

               c.     Xanthan Gum – Xanthan gum is a polysaccharide secreted by the
                      bacterium Xanthomonas campestris. It is produced by the
                      fermentation of glucose, sucrose, or lactose. After a fermentation
                      period, the resulting polysaccharide is precipitated from a growth
                      medium with isopropyl alcohol, dried, and ground into a fine
                      powder. Later, it is added to a liquid medium to form the gum.
                      The United States Department of Agriculture recognizes xanthan
                      gum as a synthetic ingredient. 7 C.F.R. § 205.605(b).

               d.     BHT or Butylated Hydroxytoluene – BHT is a potent synthetic
                      antioxidant.

               e.     Diazolidinyl Urea – Diazolidinyl urea is a formaldehyde releaser
                      used in cosmetic products as a preservative that the International
                      Agency for Research on Cancer has re-classified to its highest
                      toxic class, IARC 1 (known human carcinogen). Formaldehyde is
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                     classified as a probable human carcinogen by the United States
                     Environmental Protection Agency, which provides sufficient
                     evidence that formaldehyde causes nasopharyngeal cancer in
                     humans by the International Agency for Research on Cancer. The
                     Organic Consumers Association ranks diazolidinyl urea as the
                     most important synthetic ingredient to avoid and the ingredient the
                     Association most wants to see removed from the formulations of
                     so-called “natural” products.

              f.     Fragrance – The synthetic fragrances used in the Creamy
                     Moisturing Oil can have as many as 200 ingredients. There is no
                     way to know what the chemicals are, since the label simply says
                     “Fragrance.” Some of the problems caused by these chemicals are
                     headaches, dizziness, rash, hyperpigmentation, violent coughing,
                     vomiting, and skin irritation. The Green Beaver Company lists
                     synthetic fragrances as an ingredient to avoid. Green Beaver,
                     Ingredients to Avoid, http://www.greenbeaver.com/ingredients/.

              g.     Hydrogenated Polydecene – Hydrogenated polydecene is end
                     product of the controlled hydrogenation of polydecene. It is
                     classed as both a hydrocarbon and a synthetic polymer. It is used
                     as a fragrance ingredient, emollient, miscellaneous skin-
                     conditioning agent, and a solvent.

              h.     Tetrasodium EDTA – This ingredient is produced synthetically for
                     industrial purposes in the laboratory. It is a preservative made
                     from the known carcinogen formaldehyde and sodium cyanide. It
                     is also a penetration enhancer, meaning it breaks down the skin’s
                     protective barrier, going directly into the bloodstream.
                     Tetrasodium EDTA has been ranked as a “top 5” chemical to
                     avoid. Bubble & Bee Organic, Top Five Chemicals to Avoid,
                     http://www.bubbleandbee.com/topfivechemicals.html (last visited
                     August 21, 2014).

              i.     Cetyl Alcohol – The FDA classifies cetyl alcohol as a synthetic
                     fatty alcohol. 21 C.F.R. § 172.864.

       7.     Aveeno Active Naturals Positively Nourishing Comforting Whipped Souffle, 6

oz, similarly contains many synthetic, unnatural ingredients, including but not limited to the

following:

              a.     Glycerin – See ¶ 5(a), supra.

              b.     Caprylic/Capric Triglyceride – This ingredient is produced by chemical

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                      reactions between various fatty acids and glycerol. It is a mixed triester
                      derived from coconut oil and glycerin. It is largely synthetic.

               c.     Isopropyl Palmitate – Manufactured from the synthetic alcohol isopropyl
                      and the fatty acid from palm oil, isopropyl palmitate is not considered
                      natural.

               d.     Cetyl Alcohol – See ¶ 6(i), supra.

               e.     Glyceryl Stearate SE – This ingredient is an esterification product of
                      glycerin and stearic acid. Glyceryl stearate SE is produced by reacting an
                      excess of stearic acid with glycerin. The excess stearic acid is then reacted
                      with potassium and/or sodium hydroxide, yielding a product that contains
                      glyceryl stearate, as well as potassium stearate and/or sodium stearate.

               f.     Tocopheryl Acetate – Tocopheryl acetate is a synthetic ester of acetic acid
                      and tocopherol.

               g.     Carbomer – Carbomer is a synthetic acrylic polymer.

               h.     Fragrance – See ¶ 6(f), supra.

               i.     Disodium EDTA – Disodium EDTA is a synthetic salt of edetic acid.

               j.     Methylisothiazolinone – This ingredient is a synthetic cosmetic
                      preservative. It is a powerful biocide that has been linked to brain and
                      nerve cell damage.

               k.     Sodium Hydroxide – This ingredient is a manufactured chemical, an
                      inorganic compound which controls the pH levels in creams, and a
                      buffering agent. It is considered a strong irritant. Sodium hydroxide is
                      also known as lye, caustic soda, soda lye, or sodium hydrate. According
                      to the National Institute for Occupation Safety and Health, it irritates the
                      eyes, skin, and mucous membrane, and may cause pneumonitis. It is
                      classified as “expected to be toxic or harmful,” and one or more animal
                      studies show brain and nervous system, metabolic, and sense organ effects
                      at very low doses. There are warnings regarding using this ingredient
                      around the eyes or mouth. It has been linked to cancer, specifically of the
                      esophagus.

       8.      Aveeno Active Naturals Nourish+ Moisturize Shampoo, 10.5 oz, similarly

contains many synthetic, unnatural ingredients, including but not limited to the following:

               a.     Ammonium Lauryl Sulfate – Ammonium lauryl sulfate is a synthetic
                      ammonium salt of sulfated ethoxylated lauryl alcohol. The Green Beaver
                      Company lists it as an ingredient to avoid. Green Beaver, Ingredients to
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                      Avoid, http://www.greenbeaver.com/ingredients/.

               b.     Dimethicone – Dimethicone is what chemists call a “silicon-based
                      polymer”—“polymer” meaning it is a large molecule made up of several
                      smaller units bonded together. Simply put, dimethicone is a silicon oil
                      that is man-made in the laboratory.

               c.     Sodium Cumenesulfonate – This ingredient is a hydrotropic substance
                      used as a coupling agent, viscosity modifier, solubilizer, and cloud point
                      and crystallization temperature depressant in liquid cleaning, washing, and
                      laundry detergents, wax strippers, and metalworking cleaners.

               d.     Cocamide MEA – Made by mixing the fatty acids from coconut oil and
                      monoethanolamine (MEA), this ingredient may contain traces of cocamide
                      DEA, which, according to the FDA, may lead to the formation of
                      carcinogenic nitrosamines. The CIR Expert Panel has acknowledged that
                      MEA can react with an aldehyde to form DEA, which then can be
                      nitrosated. The Green Beaver Company has listed cocamide MEA as an
                      ingredient to avoid.        Green Beaver, Ingredients to Avoid,
                      http://www.greenbeaver.com/ingredients/.

               e.     Cetyl Alcohol – See ¶ 6(i), supra.

               f.     Acrylates Copolymer – Acrylates copolymer is a general term for
                      copolymers of two or more monomers consisting of acrylic acid,
                      methacrylic acid, or one of their simple esters.

               g.     Cocamidopropyl betaine – Cocamidopropyl betaine is a synthetic
                      surfactant. It has been associated with irritation and allergic contact
                      dermatitis.

               h.     Fragrance – See ¶ 6(f), supra.

               i.     Phenoxyethanol – See ¶ 5(d), supra.

               j.     Tetrasodium EDTA – See ¶ 6(h), supra.

               k.     Polyquaternium-10 – Polyquaternium-10 is a polymeric quaternary
                      ammonium synthetic derivative of hydroxyethyl cellulose.

               l.     Glycerin – See ¶ 5(a), supra.

       9.      Aveeno Active Naturals Nourish+ Moisturize Conditioner, 10.5 oz, similarly

contains many synthetic, unnatural ingredients, including but not limited to the following:

               a.     Dimethicone – See ¶ 8(b), supra.

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               b.      Cyclopentasiloxane – Cyclopentasiloxane is a synthetic silicone oil.

               c.      Cetyl Alcohol – See ¶ 6(i), supra.

               d.      Behetrimorium Methosulfate – This ingredient is synthetically created
                       from modified rapeseed oil.

               e.      Glycerin – See ¶ 5(a), supra.

               f.      Fragrance – See ¶ 6(f), supra.

               g.      Stearyl Alcohol – The FDA classifies stearyl alcohol as a synthetic fatty
                       alcohol. 21 C.F.R. § 172.864.

               h.      Phenoxyethanol – See ¶ 5(d), supra.

               i.      Polyquaternium-7 – This ingredient is a synthetic polymer based on
                       quaternary ammonium compounds.

               j.      Hydroxyethylcellulose – Hydroxyethylcellulose is a modified cellulose
                       polymer. It is used as a gelling and thickening agent.

               k.      Amodimethicone – Amodimethicone is a synthetic conditioning agent.

               l.      Cetrimonium Chloride – Cetrimonium chloride is a synthetic antiseptic
                       agent with antistatic, emulsifying, and detergent properties.

       10.     Through its deceptive practice of marketing and selling the Products as “Active

Naturals” despite the presence of synthetic ingredients, Defendant was able to command a

premium price by deceiving consumers about the attributes of the Products and distinguishing

the Products from similar personal care products, including but not limited to other moisturizing

oils, shave gels and shaving creams, and daily scrubs. Defendant was motivated to mislead

consumers for no other reason than to take away market share from competing products, thereby

increasing its own profits.

       11.     “Unnatural” is a defining characteristic of synthetic ingredients.

       12.     Because Aveeno contains synthetic, unnatural ingredients, Defendant’s “Active

Naturals” claims on the Product labeling and in the Product marketing are false, misleading, and

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designed to deceive consumers into purchasing the Products.

        13.     By labeling and advertising the Products as “Active Naturals,” Defendant creates

the impression amongst reasonable consumers that the Products are natural.                However,

Defendant fails to adequately inform consumers that the Products contain numerous synthetic,

unnatural, and dangerous ingredients. Indeed, Defendant only lists the synthetic, unnatural

ingredients in the Products on the back of the Product packaging in small, hard-to-read print and,

even then, fails to inform consumers that many of the ingredients listed are synthetic and

unnatural. Moreover, Defendant omits the synthetic, unnatural ingredients from its website.

        14.     Were it not for Defendant’s unfair and deceptive practices, Plaintiffs and the

members of the classes (the “Class” or “Classes,” as defined below) would not have purchased

Defendant’s Aveeno “Active Naturals” Products or paid a price premium to purchase them.

Plaintiffs bring this action to stop Defendant’s misleading practice.

                                 JURISDICTION AND VENUE

        15.     This court has jurisdiction over all causes of action asserted herein pursuant to the

Class Action Fairness Act of 2005, under 28 U.S.C. § 1332(d), because the aggregate claims of

the Class exceed the sum or value of $5,000,000.00, exclusive of interest and costs, and there is

diversity of citizenship between proposed Class members and Defendant.

        16.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2). A substantial

part of the events or omissions giving rise to Plaintiffs’ claims, including but not limited to

Defendant’s dissemination of false and misleading information regarding the Products, occurred

within this District.




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                                            PARTIES

       Plaintiff Michael Goldemberg

       17.     Plaintiff Michael Goldemberg is a citizen of New York residing in White Plains,

New York.

       18.     During the two (2) years prior to the commencement of this action, Mr.

Goldemberg bought the following Products at CVS, Target, and/or other stores in New York:

              Aveeno Active Naturals Creamy Moisturizing Oil, 12 fl oz;
              Aveeno Active Naturals Therapeutic Shave Gel, 7 fl oz;
              Aveeno Active Naturals Positively Smooth Shave Gel, 7 fl oz;
              Aveeno Active Naturals Positively Nourishing Comforting Whipped Souffle, 6
               oz;
              Aveeno Active Naturals Nourish+ Moisturize Shampoo, 10.5 fl oz; and
              Aveeno Active Naturals Nourish+ Moisturize Conditioner, 10.5 fl oz.

       19.     Mr. Goldemberg purchased the Products, for which he paid a price premium,

because he wanted to use personal care products that were natural. Had Mr. Goldemberg known

at the time that the Products were not, in fact, natural products but were, instead, made with

unnatural, synthetic ingredients, he would not have purchased the Products or paid a price

premium to purchase them.

       20.     If Mr. Goldemberg knew the Product labels were truthful and non-misleading, he

would continue to purchase the Products in the future. At present, however, Mr. Goldemberg

cannot be confident that the labeling of the Products is, and will be, truthful and non-misleading.

       Plaintiff Annie Le

       21.     Plaintiff Annie Le is a citizen of California residing in San Francisco, California.

       22.     Ms. Le bought the following Products at the following locations in California or

online, as indicated, during the following time periods:




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           Product                               Locations                    Time Period

Aveeno Active Naturals Daily     - Target in San Diego, San Dimas, Santa     Since 1998
Moisturizing Lotion, 18 fl oz    Monica, and San Francisco;
                                 - Wal-Mart in San Diego and Orange
                                 County;
                                 - Costco / Price Club in San Diego, San
                                 Dimas, and San Francisco;
                                 - Lucky’s in San Diego;
                                 - Walgreens in San Diego and San
                                 Francisco;
                                 - Rite Aid in San Diego and San Dimas

Aveeno Active Naturals Daily     - Target in San Diego, San Dimas, Santa     The previous
Moisturizing Lotion with Broad   Monica, and San Francisco                   four (4) years
Spectrum SPF 15, 12 fl oz        - Costco in San Francisco

Aveeno Active Naturals Skin      - Target in San Diego, San Dimas, Santa     The previous
Relief 24hr Moisturizing         Monica, and San Francisco                   five (5) years
Lotion, 12 fl oz                 - Wal-Mart in San Diego and Orange
                                 County

Aveeno Active Naturals           - Wal-Mart in San Diego and Orange          The previous
Positively Nourishing            County                                      two (2) years
Energizing Body Lotion, 7 oz

Aveeno Active Naturals           - Amazon.com                                The previous
Positively Ageless Firming       - Target in San Diego, San Dimas, Santa     three (3) years
Body Lotion, 8 oz                Monica, San Francisco

Aveeno Active Naturals           - Wal-Mart in San Diego and Orange          The previous
Positively Radiant Makeup        County                                      three (3) years
Removing Wipes, 25 count

Aveeno Active Naturals           - Wal-Mart in San Diego and Orange          The previous
Positively Ageless Youth         County                                      three (3) years
Perfecting Moisturizer Broad     - Walgreens in San Diego and San
Spectrum SPF 30, 2.5 fl oz       Francisco

Aveeno Active Naturals           - Target in San Francisco, San Diego, and   The previous
Positively Ageless Lifting &     Orange County                               four (4) years
Firming Eye Cream, 0.5 oz        - Costco in San Dimas and San Francisco
                                 - Walgreens in San Diego and San
                                 Francisco




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Aveeno Active Naturals              - Costco in San Francisco and San Dimas        The previous
Positively Radiant Daily            - Amazon.com                                   six (6) years
Moisturizer Broad Spectrum          - Walgreens in San Diego and San
SPF 15, 4 fl oz                     Francisco

Aveeno Active Naturals Daily        - Target in San Diego, Santa Monica, and       The previous
Moisturizing Body Wash, 18 fl       San Francisco                                  three (3) years
oz                                  - Wal-Mart in San Diego



        23.    Ms. Le purchased the Products, for which she paid a price premium, because she

wanted to use personal care products that were natural. Had Ms. Le known at the time that the

Products were not, in fact, natural products but were, instead, made with unnatural, synthetic

ingredients, she would not have purchased the Products or paid a price premium to purchase

them.

        24.    If Ms. Le knew the Product labels were truthful and non-misleading, she would

continue to purchase the Products in the future. At present, however, Ms. Le cannot be confident

that the labeling of the Products is, and will be, truthful and non-misleading.

        Plaintiff Howard Petlack

        25.    Plaintiff Howard Petlack is a citizen of Florida residing in Wellington, Florida.

        26.    During the four (4) years prior to the commencement of this action, Mr. Petlack

bought the following Products at his local Target in Florida:

              Aveeno Active Naturals Daily Moisturizing Body Wash;
              Aveeno Active Naturals Skin Relief Body Wash;
              Aveeno Active Naturals Therapeutic Shave Gel, 7 oz; and
              Aveeno Active Naturals Moisturizing Bar, 3.5 oz.

        27.    Mr. Petlack purchased the Products, for which he paid a price premium, because

he wanted to use personal care products that were natural. Had Mr. Petlack known at the time

that the Products were not, in fact, natural products but were, instead, made with unnatural,


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synthetic ingredients, he would not have purchased the Products or paid a price premium to

purchase them.

         28.   If Mr. Petlack knew the Product labels were truthful and non-misleading, he

would continue to purchase the Products in the future. At present, however, Mr. Petlack cannot

be confident that the labeling of the Products is, and will be, truthful and non-misleading.

         Defendant Johnson & Johnson Consumer Companies, Inc.

         29.   Defendant Johnson & Johnson Consumer Companies, Inc. is a corporation

incorporated under the laws of the state of New Jersey

         30.   Defendant’s principal executive office is located at Johnson & Johnson Consumer

Companies, Inc., 199 Grandview Road, Skillman, New Jersey 08558.

         31.   Defendant markets the Products to consumers, and sells the Products to

distributors, throughout the states of New York, California, and Florida.

                               SUBSTANTIVE ALLEGATIONS

         32.   Defendant sells several types of personal care products under the “Aveeno” brand

that are widely consumed by both children and adults. Each variety of Aveeno at issue is sold

with a label on the front of the Product that prominently states “Active Naturals.” See, e.g.,

http://www.aveeno.com/skincare/products/creamy-moisturizing-oil (last visited August 21,

2014); http://www.aveeno.com/skincare/products/therapeutic-shave-gel (last visited August 21,

2014);    http://www.aveeno.com/skincare/products/positively-smooth-shave-gel         (last    visited

August 21, 2014); http://www.aveeno.com/facialcare/daily-detoxifying-scrub (last visited

August 21, 2014). Accordingly, all purchasers of the Products are exposed to the false and

misleading “Active Naturals” representation.

         33.   Defendant’s website also makes the “Active Naturals” representation in



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connection with the Aveeno Products.

       34.     Additionally,   Defendant    systematically   conveys    the   “Active   Naturals”

misrepresentation in advertising and on social media websites, such as Facebook. See, e.g.,

http://www.facebook.com/aveeno.

       35.     The Aveeno website also features numerous slogans and representations to induce

the purchaser into believing the Products are natural. For example, with respect to Aveeno

Active Naturals Creamy Moisturizing Oil, 12 fl oz, the website states as of August 21, 2014:

              This light body lotion moisturizes all day long to leave skin feeling soft
               and silky, without the greasy feel of body oil. Its breakthrough formula
               combines ACTIVE NATURALS® Colloidal Oatmeal, long known for its
               ability to soothe dry skin, with a blend of natural oils and rich emollients
               that work together to replenish skin’s natural moisture. It has a light
               fragrance.

http://www.aveeno.com/skincare/products/creamy-moisturizing-oil.

       36.     With respect to Aveeno Active Naturals Positively Smooth Shave Gel, 7 oz, the

website states as of August 21, 2014:

              This creamy shaving gel is uniquely formulated with natural soy and rich
               emollients to help immediately soften and condition hair, making it easier
               for you to get a closer shave and to shave less often with continued use.
               The clean-rinsing formula helps prevent nicks, cuts and even razor burn by
               helping to hydrate and moisturize skin. It’s even gentle enough to use on
               sensitive skin.

http://www.aveeno.com/product/aveeno-+positively+smooth-+shave+gel+.do?sortby=ourPicks&
from=fn.

       37.     On its website Defendant also makes numerous statements and representations to

reinforce the “Active Naturals” part of its brand, emphasizing the perceived health, efficacy, and

safety benefits of using natural personal care products. For example, on a page titled “About

AVEENO®”, Defendant made the following representations on March 12, 2013:




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                Throughout the years, AVEENO® has continued [its] story of discovery
                and passion for unlocking the power of nature through scientific
                advances to benefit humankind. AVEENO®, the leader in ACTIVE
                NATURALS®, continues to develop breakthrough product formulations
                with new and existing natural ingredients, many that are clinically
                proven to deliver real skin care benefits leaving you with healthier-
                looking, beautiful skin. No wonder AVEENO® has been endorsed and
                recommended by dermatologists and pediatricians for over 60 years and is
                the brand trusted most by dermatologists for the efficacy and safety of its
                natural ingredients.

See    http://web.archive.org/web/20130115195608/http://www.aveeno.com/about-aveeno           (last

visited August 21, 2014) (emphasis added) (Internet Archive webpage showing “About

Aveeno®” web page as of January 15, 2013). As of August 21, 2014, Defendant continues to

make similar representations on the “About AVEENO” webpage, such as the following:

                We use only high-quality natural ingredients—grown in regions
                that provide an ideal environment for the plant to thrive and
                produce beneficial ACTIVE NATURALS® ingredients.

                Our scientists follow high standards of ingredient selection,
                formulation and manufacturing, with processes that retain the
                strength and purity of the ingredients.

                Learn more about the magic of ACTIVE NATURALS®
                ingredients—sourced from nature, uniquely formulated and
                scientifically proven to deliver real skin and hair care benefits.

http://www.aveeno.com/category/our-mission.do (last visited August 21, 2014) (emphasis

added).

          38.   Further, on the Aveeno Facebook page, Defendant prominently states “[w]e

believe nature has the power to make life beautiful - to soothe, heal, and even transform.”

http://www.facebook.com/aveeno (last visited August 21, 2014).

          39.   Nutrition-related health claims on products cause consumers to believe those

products are healthier than other products and to be more willing to purchase products with such

claims. See Karen N. Peart, Parents Often Misled by Health Claims on Children’s Cereal

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Packages, Yale News (Aug. 10, 2011), http://news.yale.edu/2011/08/10/parents-often-misled-

health-claims-childrens-cereal-packages (last visited August 21, 2014). Furthermore, “labels can

strongly impact consumer behavior.” Linda Casy, Packaging’s Role in Deterring Junk Food

Consumption, PACKAGING DIGEST (Apr. 11, 2011). Consumers, including Plaintiffs and the

Class members, frequently rely on label representations and information in making purchase

decisions.

       40.    Despite knowing that synthetic ingredients are not natural and that its Products

contain synthetic ingredients, Defendant has engaged in a widespread marketing and advertising

campaign to portray the Products as “Active Naturals” and to otherwise represent that the

Products are natural. Defendant engaged in this misleading and deceptive campaign to charge a

premium and take away market share from other similar products.

       41.    Research shows that products purported to be “natural,” such as the Aveeno

Products at issue, are often priced higher than equivalent products, suggesting that companies,

including Defendant, are taking advantage of consumer confusion between certified organic

labels and the often deceptive “ natural” label. See Cornucopia Institute, Cereal Crimes: How

“Natural” Claims Deceive Consumers and Undermine the Organic Label – A Look Down the

Cereal and Granola Aisle, at 29 (2011), available at http://www.cornucopia.org/2011/10/natural-

vs-organic-cereal/ (scroll down and click “Read the Full Report”). Defendant makes claims

regarding the “naturalness” of the Products to induce consumers to purchase them over

competing ones and to pay a premium for those Products over competing ones.

       42.    Defendant’s representations that the Products are natural (including but not

limited to the “Active Naturals” representation), described above, are false because products

containing synthetic ingredients are unnatural by definition. A reasonable consumer believes,



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based on Defendant’s representations discussed above, that Defendant’s Products do not contain

harmful, synthetic, unnatural ingredients; in fact, however, the Products do contain such

ingredients.

       43.     Plaintiffs and the other Class members were among the intended recipients of

Defendant’s deceptive representations and omissions described herein. Defendant’s deceptive

representations and omissions, as described herein, are material in that a reasonable person

would attach importance to such information and would be induced to act upon such information

in making purchase decisions.    Plaintiffs purchased the Products because they wanted natural

personal care products. Plaintiffs were injured by Defendant’s deceptive representations and

omissions because they would not have purchased the Products had they been truthfully

advertised and labeled and because they paid a price premium for Defendant’s Products.

       44.     The materiality of the representations and omissions described herein also

establishes causation between Defendant’s conduct and the injuries Plaintiffs and the Class

members sustained.

       45.     Defendant’s false, misleading, and deceptive misrepresentations and omissions, as

described herein, are likely to continue to deceive and mislead reasonable consumers and the

general public. Indeed, they have already deceived and misled Plaintiffs and the other Class

members.

       46.     In making the false, misleading, and deceptive representations and omissions,

Defendant knew and intended that consumers would pay a premium for the Products over

comparable products that are not “natural.”

       47.     As an immediate, direct, and proximate result of Defendant’s false, misleading,

and deceptive representations and omissions (as detailed herein), Defendant injured Plaintiffs



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and the other Class members in that they:

             paid a sum of money for Products that were not as represented;

             paid a premium price for Products that were not as represented;

             were deprived of the benefit of the bargain because the Products they
              purchased were different than what Defendant warranted;

             were deprived of the benefit of the bargain because the Products they
              purchased had less value than what was represented by Defendant; and

             did not receive Products that measured up to their expectations as created
              by Defendant.

       48.    Plaintiffs and the other Class members all paid money for the Products. However,

Plaintiffs and the other Class members did not obtain the full value of the advertised Products

due to Defendant’s misrepresentations and omissions, as detailed herein. Plaintiffs and the other

Class members purchased, purchased more of, or paid more for, the Products than they would

have had they known the truth about the Products’ unnaturalness. Thus, Plaintiffs and the other

Class members have suffered injury in fact and lost money or property as a result of Defendant’s

wrongful conduct.

       49.    Defendant’s widespread marketing campaign portraying the Products as “Active

Naturals” and otherwise representing them to be natural, as detailed herein, is misleading and

deceptive to consumers because the Products are made with unnatural, synthetic ingredients.

Defendant’s Product labeling, marketing, and other materials do not disclose this fact by means

of qualifying language or otherwise remedy the deception. Plaintiffs bring this action on behalf

of the proposed Class to stop Defendant’s misleading practice.

                                   CLASS ALLEGATIONS

       50.    Plaintiff Michael Goldemberg brings this action as a class action pursuant to Rule

23 of the Federal Rules of Civil Procedure on behalf of the following class (the “New York

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Class”):

               All persons who purchased Defendant’s Products in New York during the
               applicable limitations period. Excluded from the New York Class are
               current and former officers and directors of Defendant, members of the
               immediate families of the officers and directors of Defendant, Defendant’s
               legal representatives, heirs, successors, or assigns, and any entity in which
               they have or have had a controlling interest. Also excluded from the New
               York Class is the judicial officer to whom this lawsuit is assigned.

       51.     Further, Plaintiff Annie Le brings this action as a class action pursuant to Rule 23

of the Federal Rules of Civil Procedure on behalf of the following class (the “California Class”):

               All persons who purchased Defendant’s Products in California
               during the applicable limitations period. Excluded from the
               California Class are current and former officers and directors of
               Defendant, members of the immediate families of the officers and
               directors of Defendant, Defendant’s legal representatives, heirs,
               successors, or assigns, and any entity in which they have or have
               had a controlling interest. Also excluded from the California Class
               is the judicial officer to whom this lawsuit is assigned.

       52.     Further, Plaintiff Howard Petlack brings this action as a class action pursuant to

Rule 23 of the Federal Rules of Civil Procedure on behalf of the following class (the “Florida

Class”):

               All persons who purchased Defendant’s Products in Florida during
               the applicable limitations period. Excluded from the Florida Class
               are current and former officers and directors of Defendant,
               members of the immediate families of the officers and directors of
               Defendant, Defendant’s legal representatives, heirs, successors, or
               assigns, and any entity in which they have or have had a
               controlling interest. Also excluded from the Florida Class is the
               judicial officer to whom this lawsuit is assigned.

       53.     Within this Second Amended Class Action Complaint, Plaintiffs refer to the New

York Class, the California Class, and the Florida Class, collectively, as the “Class” or the

“Classes.”

       54.     Plaintiffs reserve the right to revise the Class definitions based on facts learned in



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the course of litigating this matter.

        55.     At this time, Plaintiffs do not know the exact number of the Class members;

however, given the nature of the claims and the number of retail stores selling Defendant’s

Products in New York, California, and Florida, Plaintiffs believe the Class members are so

numerous that joinder of all members is impracticable.

        56.     Questions of law and fact common to the members of the Class that predominate

over questions that may affect individual Class members include but are not limited to:

                a.      Whether Defendant labeled, marketed, advertised, and/or sold the
                        Products to Plaintiffs and those similarly situated using false,
                        misleading, and/or deceptive statements or representations,
                        including statements or representations concerning the ingredients
                        of the Products;

                b.      Whether Defendant omitted and/or misrepresented material facts in
                        connection with the sales of the Products;

                c.      Whether Defendant participated in and pursued the common
                        course of conduct complained of herein;

                d.      Whether Defendant has been unjustly enriched; and

                e.      Whether Defendant’s labeling, marketing, advertising, and/or
                        selling of the Products with the representation “Active Naturals” as
                        described herein constitutes a deceptive consumer sales practice.

        57.     Plaintiffs’ claims are typical of those of the Class members because Plaintiffs and

the other Class members sustained damages arising out of the same wrongful conduct, as

detailed herein.

        58.     Plaintiffs will adequately protect the interests of the Class members. Plaintiffs

have retained counsel that are experienced in litigating complex class actions. Neither Plaintiffs

nor their counsel have any interests adverse to those of the other Class members.

        59.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. The damages suffered by any individual class member are too
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small to make it economically feasible for an individual class member to prosecute a separate

action, and it is desirable for judicial efficiency to concentrate the litigation of the claims in this

forum. Furthermore, the adjudication of this controversy through a class action will avoid the

potentially inconsistent and conflicting adjudications of the claims asserted herein. There will be

no difficulty in the management of this action as a class action.

          60.   The prerequisites to maintaining a class action for injunctive or equitable relief

pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused to act on grounds generally

applicable to the Class, thereby making appropriate final injunctive or equitable relief with

respect to the Class as a whole.

          61.   The prosecution of separate actions by members of the Class would create a risk

of establishing inconsistent rulings and/or incompatible standards of conduct for Defendant.

Additionally, individual actions may be dispositive of the interests of all members of the Class,

although certain Class members are not parties to such actions.

          62.   Defendant’s conduct is generally applicable to the Class as a whole and Plaintiffs

seek, inter alia, equitable remedies with respect to the Class as a whole. As such, Defendant’s

systematic policies and practices make declaratory relief with respect to the Class as a whole

appropriate.

                                      CAUSES OF ACTION

                                FIRST CAUSE OF ACTION
                 (Violation of New York General Business Law Section 349)
     (By Plaintiff Michael Goldemberg, on Behalf of Himself and the New York Class)

          63.   Plaintiff Michael Goldemberg repeats each and every allegation contained in

paragraphs one (1) through sixty-two (62) above and incorporates such allegations by reference

herein.



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       64.     Plaintiff Goldemberg brings this cause of action on behalf of himself and on

behalf of the New York Class for violation of New York General Business Law section 349.

       65.     As detailed more fully herein, Defendant engaged in deceptive acts and practices

by falsely and misleadingly marketing the Products to consumers, including through the use of

false and misleading Product labeling.

       66.     As fully alleged above, by advertising, marketing, distributing, and/or selling the

Products to Mr. Goldemberg and the other members of the New York Class, Defendant engaged

in and continues to engage in deceptive acts, practices, and omissions.

       67.     Mr. Goldemberg and the other members of the New York Class further seek to

enjoin such unlawful deceptive acts and practices as described above. Each of the New York

Class members will be irreparably harmed unless the unlawful actions of Defendant are enjoined,

in that Defendant will continue to falsely and misleadingly advertise the Products using the

representation “Active Naturals” and other similar representations, as detailed more fully herein,

when in fact the Products contain synthetic ingredients. Absent injunctive relief, Defendant will

continue to manufacture and sell its personal care Products using the representation “Active

Naturals” and other similar representations, as detailed more fully herein, to the detriment of

consumers.

       68.     By reason of the foregoing, Defendant’s conduct, as alleged herein, constitutes

deceptive acts and practices in violation of New York General Business Law section 349, and

Defendant is liable to Mr. Goldemberg and the other members of the New York Class for the

actual damages they have suffered as a result of Defendant’s actions. The amount of such

damages is to be determined at trial, but will not be less than $50.00.

       69.     Therefore, Plaintiff Michael Goldemberg prays for relief as set forth below.



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                             SECOND CAUSE OF ACTION
             (Breach of Express Warranties under New York Common Law)
     (By Plaintiff Michael Goldemberg, on Behalf of Himself and the New York Class)

          70.   Plaintiff Michael Goldemberg repeats each and every allegation contained in

paragraphs one (1) through sixty-two (62) above and incorporates such allegations by reference

herein.

          71.   Plaintiff Goldemberg brings this cause of action on behalf of himself and on

behalf of the New York Class for breach of express warranty under New York common law.

          72.   Defendant provided Mr. Goldemberg and the New York Class members with

written express warranties, including but not limited to warranties that the Products were “Active

Naturals,” as set forth above.

          73.   Defendant breached these warranties by providing Products that contained

synthetic ingredients and that did not otherwise conform to the warranties.

          74.   This breach resulted in damages to Mr. Goldemberg and the New York Class

members, who bought Defendant’s Products but did not receive the goods as warranted, in that

the Products were not natural because they contained synthetic ingredients.

          75.   As a proximate result of Defendant’s breach of warranties, Mr. Goldemberg and

the New York Class members have suffered damages in an amount to be determined by the

Court and/or jury, in that, among other things, they purchased and paid for Products that did not

conform to what Defendant promised in its Product promotion, marketing, advertising,

packaging, and labeling, and they were deprived of the benefit of their bargain and spent money

on Products that did not have any value or had less value than warranted or Products that they

would not have purchased and used had they known the true facts about them.

          76.   Therefore, Plaintiff Michael Goldemberg prays for relief as set forth below.



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                              THIRD CAUSE OF ACTION 2
                    (Unjust Enrichment under New York Common Law)
     (By Plaintiff Michael Goldemberg, on Behalf of Himself and the New York Class)

          77.    Plaintiff Michael Goldemberg repeats each and every allegation contained in

paragraphs one (1) through sixty-two (62) above and incorporates such allegations by reference

herein.

          78.    Plaintiff Goldemberg brings this claim for unjust enrichment under New York

common law on behalf of himself and on behalf of the New York Class members.

          79.    As a result of Defendant’s deceptive, fraudulent, and misleading labeling,

advertising, marketing, and sales of the Products, Defendant was enriched at the expense of Mr.

Goldemberg and the other New York Class members, through the payment of the purchase price

for Defendant’s Products.

          80.    Under the circumstances, it would be against equity and good conscience to

permit Defendant to retain the ill-gotten benefits that it received from Mr. Goldemberg and the

other New York Class members in light of the fact that the Products purchased by Mr.

Goldemberg and the other New York Class members were not what Defendant purported them to

be. Thus, it would be unjust or inequitable for Defendant to retain the benefit without restitution

to Mr. Goldemberg and the other New York Class members for the monies paid to Defendant for

such Products.

          81.    Therefore, Plaintiff Michael Goldemberg prays for relief as set forth below.




2
  The Court dismissed Mr. Goldemberg’s claim for unjust enrichment under New York common
law in its Memorandum and Order dated March 27, 2014 (Doc. No. 20). Plaintiffs include this
claim herein only to preserve it for appeal.

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                              FOURTH CAUSE OF ACTION
 (Violation of California’s False Advertising Law, Cal. Bus. & Prof. Code § 17500 et seq.)
           (By Plaintiff Annie Le, on Behalf of Herself and the California Class)

       82.     Plaintiff Annie Le repeats each and every allegation contained in paragraphs one

(1) through sixty-two (62) above and incorporates such allegations by reference herein.

       83.     Plaintiff Le brings this cause of action on behalf of herself and on behalf of the

California Class for violation of California’s False Advertising Law, Cal. Bus. & Prof. Code §

17500 et seq. (the “FAL”).

       84.     At all relevant times, Defendant has engaged, and continues to engage, in a public

advertising and marketing campaign representing that the Products are “Active Naturals.”

       85.     The Products are in fact made from numerous synthetic ingredients, which are not

natural.     Defendant’s advertisements and marketing representations are, consequently,

misleading, untrue, and likely to deceive reasonable consumers.

       86.     Defendant engaged in its advertising and marketing campaign with intent to

directly induce consumers, including Ms. Le and the California Class members, to purchase the

Products based on false and misleading claims.

       87.     In making and disseminating the statements alleged herein, Defendant knew or

should have known that the statements were untrue or misleading.

       88.     Ms. Le and the California Class members believed Defendant’s representations

that the Products were “Active Naturals.” Ms. Le and the other California Class members would

not have purchased the Products had they known the Products contained synthetic ingredients.

       89.     Ms. Le and the California Class members were injured in fact and lost money as a

result of Defendant’s conduct of improperly describing the Products as “Active Naturals.” Ms.

Le and the California Class members paid for Products that were “Active Naturals” but did not



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receive such Products.

       90.     The Products Ms. Le and the California Class members received were worth less

than the Products for which they paid. Ms. Le and the California Class members paid a premium

price on account of Defendant’s misrepresentations that the Products were “Active Naturals.”

       91.     Ms. Le and the California Class members seek declaratory relief, restitution for

monies wrongfully obtained, disgorgement of ill-gotten revenues and/or profits, injunctive relief

enjoining Defendant from continuing to disseminate its untrue and misleading statements, and

other relief allowable under California Business and Professions Code section 17535.

       92.     Therefore, Plaintiff Annie Le prays for relief as set forth below.

                               FIFTH CAUSE OF ACTION
(Violation of California’s Unfair Competition Law, Cal. Bus. & Prof Code § 17200 et seq.)
           (By Plaintiff Annie Le, on Behalf of Herself and the California Class)

       93.     Plaintiff Annie Le repeats each and every allegation contained in paragraphs one

(1) through sixty-two (62) above and incorporates such allegations by reference herein.

       94.     Plaintiff Le brings this cause of action on behalf of herself and on behalf of the

California Class for violation of California’s Unfair Competition Law, Cal. Bus. & Prof. Code §

17200 et seq. (the “UCL”).

       95.     The circumstances giving rise to the allegations of Ms. Le and the California

Class members include Defendant’s corporate policies regarding the sale and marketing of the

Products.

       96.     Under the UCL, “unfair competition” means and includes “any unlawful, unfair

or fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising and

any act prohibited by [the FAL].” Cal. Bus. & Prof. Code § 17200.

       97.     By engaging in the acts and practices described above, Defendant committed one



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or more acts of “unfair competition” as the UCL defines that term.

       98.    Defendant committed, and continues to commit, “unlawful” business acts or

practices by, among other things, violating the FAL, as described above.

       99.    Defendant committed, and continues to commit, “unfair” business acts or

practices by, among other things:

              a.      engaging in conduct for which the utility of the conduct, if any, is
                      outweighed by the gravity of the consequences to Ms. Le and the members
                      of the California Class;

              b.      engaging in conduct that is immoral, unethical, oppressive, unscrupulous,
                      or substantially injurious to Ms. Le and the members of the California
                      Class; and

              c.      engaging in conduct that undermines or violates the spirit or intent of the
                      consumer protection laws that Plaintiffs allege Defendant violated in this
                      Second Amended Class Action Complaint.

       100.   Defendant committed unlawful, unfair, and/or fraudulent business acts or

practices by, among other things, engaging in conduct Defendant knew or should have known

was likely to and did deceive reasonable consumers, including Ms. Le and the California Class

members.

       101.   As detailed above, Defendant’s unlawful, unfair, and/or fraudulent practices

include making false and/or misleading representations that the Products were “Active Naturals.”

       102.   Ms. Le and the California Class members believed Defendant’s representations

that the Products were “Active Naturals.” Ms. Le and the California Class members would not

have purchased the Products, but for Defendant’s misleading statements about the Products

being “Active Naturals.”

       103.   Ms. Le and the California Class members were injured in fact and lost money as a

result of Defendant’s conduct of improperly describing the Products as “Active Naturals.” Ms.



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Le and the California Class members paid for Products that were “Active Naturals,” but did not

receive Products that were “Active Naturals.” Instead, Ms. Le and the California Class members

received Products that contained ingredients that were synthetic, as detailed herein.

       104.    Ms. Le and the California Class members seek declaratory relief, restitution for

monies wrongfully obtained, disgorgement of ill-gotten revenues and/or profits, injunctive relief,

and other relief allowable under California Business and Professions Code section 17203,

including but not limited to enjoining Defendant from continuing to engage in its unfair,

unlawful and/or fraudulent conduct alleged herein.

       105.    Therefore, Plaintiff Annie Le prays for relief as set forth below.

                                SIXTH CAUSE OF ACTION
  (Violation of California’s Consumers Legal Remedies Act, Cal. Civ. Code § 1750 et seq.)
            (By Plaintiff Annie Le, on Behalf of Herself and the California Class)
                     (Seeking Monetary Damages and Injunctive Relief)

       106.    Plaintiff Annie Le repeats each and every allegation contained in paragraphs one

(1) through sixty-two (62) above and incorporates such allegations by reference herein.

       107.    Plaintiff Le brings this cause of action on behalf of herself and on behalf of the

California Class for violation of California’s Consumers Legal Remedies Act, Cal. Civ. Code §

1750 et seq. (the “CLRA”).

       108.    This claim seeks monetary damages and injunctive relief pursuant to California

Civil Code section 1782.

       109.    On July 16, 2014, Defendant agreed not to oppose Ms. Le’s claim for monetary

damages under the CLRA on the ground that Ms. Le has not complied with the notice

requirements in California Civil Code section 1782. Defendant, however, has reserved the right

to oppose Ms. Le’s claim for monetary damages under the CLRA on all other grounds.

       110.    Ms. Le and the California Class members are “consumers” as the CLRA defines

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that term in California Civil Code section 1761(d).

       111.    Defendant sold the Products, which are “goods” within the meaning of California

Civil Code section 1761(a), to Ms. Le and the California Class members.

       112.    Defendant’s actions, representations, and conduct have violated, and continue to

violate, the CLRA because they extend to transactions that are intended to result, or that have

resulted, in the sale of goods to consumers.

       113.    Under section 1770(a) of the CLRA:

               (a) The following unfair methods of competition and unfair or
               deceptive acts or practices undertaken by any person in a
               transaction intended to result or which results in the sale or lease of
               goods or services to any consumer are unlawful:

                   *****

                   (5) Representing that goods or services have sponsorship,
                   approval, characteristics, ingredients, uses, benefits, or
                   quantities which they do not have or that a person has a
                   sponsorship, approval, status, affiliation, or connection
                   which he or she does not have.

                   *****

                   (9) Advertising goods or services with intent not to sell
                   them as advertised.

                   *****

                   (16) Representing that the subject of a transaction has been
                   supplied in accordance with a previous representation when
                   it has not.

       114.    By engaging in the actions, misrepresentations, and misconduct set forth herein,

Defendant violated, and continues to violate, California Civil Code section 1770(a)(5) by

misrepresenting that the Products are “Active Naturals” and have particular qualities that they do

not have, namely, that they are “Active Naturals,” when, in fact, they are not.



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       115.    By engaging in the actions, misrepresentations, and misconduct set forth in this

Second Amended Class Action Complaint, Defendant violated, and continues to violate,

California Civil Code section 1770(a)(9), by advertising the Products as “Active Naturals” with

intent to sell the Products not as they were advertised.

       116.    By engaging in the actions, misrepresentations, and misconduct set forth in this

Second Amended Class Action Complaint, Defendant violated, and continues to violate,

California Civil Code section 1770(a)(16) by misrepresenting that the subjects of transactions

have been supplied in accordance with previous representations (i.e., that the Products were

“Active Naturals”), when they were not.

       117.    Defendant violated the CLRA by representing through its Product labeling and

advertisements the Products as described above when it knew, or should have known, that the

representations, labeling, and advertisements were unsubstantiated, false, and misleading.

       118.    Ms. Le and the California Class members believed Defendant’s representations

that the Products were “Active Naturals.” Ms. Le and the California Class members would not

have purchased the Products, but for Defendant’s misleading statements about the Products

being “Active Naturals.”

       119.    Ms. Le and the California Class members were injured in fact and lost money as a

result of Defendant’s conduct of improperly describing the Products as “Active Naturals.” Ms.

Le and the California Class members paid for Products that were “Active Naturals” but did not

receive such Products, since the Products contained synthetic ingredients.

       120.    Pursuant to California Civil Code section 1780(a)(1), (3), (4), and (5), Ms. Le and

the California Class members seek compensatory damages, punitive damages to the extent the

law permits, and restitution of Defendant’s ill-gotten gains due to its unlawful methods, acts, and



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practices described herein, as well as any other relief the Court deems proper.

       121.     Ms. Le and the California Class members request that this Court enjoin Defendant

from continuing to employ the unlawful methods, acts, and practices alleged herein pursuant to

California Civil Code section 1780(a)(2). If Defendant is not restrained from engaging in these

types of practices in the future, Ms. Le and the California Class members will be harmed in that

they will continue to be unable to rely on Defendant’s representations that the Products are

“Active Naturals.”

       122.     Therefore, Plaintiff Annie Le prays for relief as set forth below.

                                SEVENTH CAUSE OF ACTION
                (Breach of Express Warranties under California Common Law)
              (By Plaintiff Annie Le, on Behalf of Herself and the California Class)

       123.     Plaintiff Annie Le repeats each and every allegation contained in paragraphs one

(1) through sixty-two (62) above and incorporates such allegations by reference herein.

       124.     Plaintiff Le brings this cause of action on behalf of herself and on behalf of the

California Class for breach of express warranty under California common law.

       125.     Defendant provided Ms. Le and the California Class members with written

express warranties, including but not limited to warranties that the Products were “Active

Naturals,” as set forth above.

       126.     Defendant breached these warranties by providing Products that contained

synthetic ingredients and that did not otherwise conform to the warranties.

       127.     This breach resulted in damages to Ms. Le and the California Class members,

who bought Defendant’s Products but did not receive the goods as warranted, in that the

Products were not natural because they contained synthetic ingredients.

       128.     As a proximate result of Defendant’s breach of warranties, Ms. Le and the



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California Class members have suffered damages in an amount to be determined by the Court

and/or jury, in that, among other things, they purchased and paid for Products that did not

conform to what Defendant promised in its Product promotion, marketing, advertising,

packaging, and labeling, and they were deprived of the benefit of their bargain and spent money

on Products that did not have any value or had less value than warranted or Products that they

would not have purchased and used had they known the true facts about them.

          129.   Therefore, Plaintiff Annie Le prays for relief as set forth below.

                                 EIGHTH CAUSE OF ACTION
              (Violation of the Florida Deceptive and Unfair Trade Practices Act,
                                   Fla. Stat. § 501.201 et seq.)
           (By Plaintiff Howard Petlack, on Behalf of Himself and the Florida Class)

          130.   Plaintiff Howard Petlack repeats each and every allegation contained in

paragraphs one (1) through sixty-two (62) above and incorporates such allegations by reference

herein.

          131.   Plaintiff Petlack brings this cause of action on behalf of himself and on behalf of

the Florida Class for violation of the Florida Deceptive and Unfair Trade Practices Act, Fla. Stat.

§ 501.201 et seq. (the “FDUTPA”).

          132.   Section 501.204(1) of the FDUTPA makes “unfair or deceptive acts or practices

in the conduct of any trade or commerce” unlawful.

          133.   By labeling, advertising, marketing, distributing, and/or selling the Products with

claims that they were “Active Naturals” to Mr. Petlack and the Florida Class members,

Defendant violated the FDUTPA by engaging in, and it continues to violate the FDUPTA by

continuing to engage in, unfair or deceptive acts or practices, by falsely and misleadingly

describing the composition of the Products, since the Products contain numerous unnatural,

synthetic ingredients.

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          134.   Had Mr. Petlack and the Florida Class members known the Products were not, in

fact, “Active Naturals” because they contained synthetic ingredients, they would not have

purchased the Products and/or paid a premium price for the Products, as detailed herein.

          135.   Mr. Petlack and the Florida Class members were injured in fact and lost money as

a result of Defendant’s conduct of improperly describing the Products as “Active Naturals.” Mr.

Petlack and the Florida Class members paid for Products that were “Active Naturals,” but did not

receive such Products.

          136.   The Products Mr. Petlack and the Florida Class members received were worth

less than the Products for which they paid.

          137.   Mr. Petlack and the Florida Class members seek to enjoin such unlawful acts and

practices described above. Each of the Florida Class members will be irreparably harmed unless

the unlawful actions of Defendant are enjoined in that they will continue to be unable to rely on

Defendant’s representations that the Products are “Active Naturals.”

          138.   Mr. Petlack and the Florida Class members seek declaratory relief, injunctive

relief prohibiting Defendant from continuing to disseminate its false and misleading statements,

actual damages plus attorney’s fees and court costs, and other relief allowable under the

FDUTPA.

          139.   Therefore, Plaintiff Howard Petlack prays for relief as set forth below.

                                NINTH CAUSE OF ACTION
                 (Breach of Express Warranties under Florida Common Law)
           (By Plaintiff Howard Petlack, on Behalf of Himself and the Florida Class)

          140.   Plaintiff Howard Petlack repeats each and every allegation contained in

paragraphs one (1) through sixty-two (62) above and incorporates such allegations by reference

herein.



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       141.    Plaintiff Petlack brings this cause of action on behalf of himself and on behalf of

the Florida Class for breach of express warranty under Florida common law.

       142.    Defendant provided Mr. Petlack and the Florida Class members with written

express warranties, including but not limited to warranties that the Products were “Active

Naturals,” as set forth above.

       143.    Defendant breached these warranties by providing Products that contained

synthetic ingredients and that did not otherwise conform to the warranties.

       144.    This breach resulted in damages to Mr. Petlack and the Florida Class members,

who bought Defendant’s Products but did not receive the goods as warranted, in that the

Products were not natural because they contained synthetic ingredients.

       145.    As a proximate result of Defendant’s breach of warranties, Mr. Petlack and the

Florida Class members have suffered damages in an amount to be determined by the Court

and/or jury, in that, among other things, they purchased and paid for Products that did not

conform to what Defendant promised in its Product promotion, marketing, advertising,

packaging, and labeling, and they were deprived of the benefit of their bargain and spent money

on Products that did not have any value or had less value than warranted or Products that they

would not have purchased and used had they known the true facts about them.

       146.    Therefore, Plaintiff Howard Petlack prays for relief as set forth below.

                                    PRAYER FOR RELIEF

       THEREFORE, Plaintiffs, individually and on behalf of the members of each of the

Classes alleged in this Second Amended Class Action Complaint, demand judgment as follows:

       A.      For an Order certifying the Classes proposed herein under Federal Rules of Civil

Procedure 23(a), (b)(2), and (b)(3); appointing Plaintiffs as representatives of the Classes as set



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forth herein; and appointing their undersigned counsel as Class counsel;

          B.     For a declaration that Defendant is financially responsible for notifying the Class

members of the pendency of this suit;

          C.     For declaratory and injunctive relief pursuant to section 349 of the New York

General Business Law, without limitation;

          D.     Monetary damages, including but not limited to any compensatory, incidental, or

consequential damages in an amount to be determined at trial, together with prejudgment interest

at the maximum rate allowable by law with respect to the common law claims alleged;

          E.     Statutory damages in the maximum amount provided under all statutes set forth

herein;

          F.     Punitive damages in accordance with proof and in an amount consistent with

applicable precedent;

          G.     For an order awarding Plaintiffs and the other Class members the reasonable costs

and expenses of suit, including their attorneys’ fees; and

          H.     For any further relief that the Court may deem appropriate.

                                    JURY TRIAL DEMANDED

          Plaintiffs hereby demand a trial by jury.

Dated: August 29, 2014                          Respectfully submitted,

                                                REESE RICHMAN LLP

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